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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 1:22-CV-23753-KMM

  EDWIN GARRISON, et al. on behalf of
  themselves and all others similarly
  situated,

         Plaintiff,

  v.

  SAM BANKMAN-FRIED, et al.,

        Defendants.
  __________________________________/

              PLAINTIFFS’ REQUEST FOR A BRIEF STATUS CONFERENCE

  Plaintiffs very respectfully request a Brief Status Conference (live and/or via Zoom, at the Court’s

  desire) at the Court’s convenience, now that all Defendants are properly before the Court, to update

  the Court on all of the current events, and answer any and all questions the Court may have, on

  any of the pending and/or upcoming issues (such as the MDL Petition, Motion to Remand, etc.).

  Dated: March 1, 2023                               Respectfully Submitted,

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                                                                     Garrison v. Bankman-Fried et al
                                                                           Case No.: 1:22-CV-23753-KMM

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                                    CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the forgoing was filed on March 1, 2023,
  with the Court via CM/ECF system, which will send notification of such filing to all attorneys of
  record.


                                                        By: /s/ Adam M. Moskowitz
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